Case 9:19-cv-80235-DMM Document 31 Entered on FLSD Docket 08/15/2019 Page 1 of 1




                               UM TED STATES DISTRICT COURT
                               SOUTIIERN DISTRICT OF FLORIDA

                               CaseNo.19-80235-CV -M m DLEBROOKS

      CAESAR BACARELLA,

             Plaintiff,


      JOES C.ARM D A and JOSE C.ARANDA d/b/a
      HUSTLE AESTHETICS,

             Defendants.
                                                /
                                      ORDER CLOSING CASE
             THIS CAUSE com esbeforetheCourtupon theParties'JointStipulation ofDismissalwith

      Prejudice,filed on August14,2019. (DE 30). The Càttrtconpatulatesthe Parties on their
      nm icableresolution ofthismatterandnotesthatpursuanttoAnagoFranchising,Inc.v.Shaz,LLC,
  '
      677F.3d 1272(11thCir.2012),theParties'Stipulationisself-executingandnoOrderoftheCourt
      isrequiredto dismisstlzisaction. Accordingly,itishereby

             ORDERED and ADJUD GED that the Clerk of Courtshall CLOSE this CASE and

      D EN Y a11pending m otionsA S M O O T .

             SIGNED in Chambersin W estPSI= Beach,Flodda,this15th day pfAugust,2019.




                                                      D ON A LD M .M ID D LEBR O OK S
                                                      UN ITED STA TES D ISTRICT TUDG E

      Copiesto:     CounselofRecord
